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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                 )
                                          )
                  v.                      )                 No. 21-cr-123 (PLF)
                                          )
VITALI GOSSJANKOWSKI,                     )
                                          )
            Defendant                     )
__________________________________________)

REPLY IN SUPPORT OF CROSS-MOTION IN LIMINE TO PRECLUDE DISCUSSION
                 OF THE VICE PRESIDENT’S “FAMILY”

       Mr. Vitali GossJankowski, through counsel, hereby replies to the government’s response

(ECF 121) to his Cross-Motion in Limine to Preclude Discussion of the Vice President’s

“Family” (ECF 117).

       First, the government argues that Mr. GossJankowski’s motion is time-barred by the

motions deadline and accuses the defense of attempting to “circumvent the time limitations

ordered by this Court by repackaging his belated motion” as a cross-motion. ECF 121 at 3. Mr.

GossJankowski had good cause for not filing his motion at the initial deadline: prior to that

deadline, he had no reason to anticipate that the government would be trying to constructively

amend the indictment at trial by injecting former Vice President Pence’s unidentified “family

members” into its case-in-chief. The government already filed a superseding indictment in this

case and amended the Secret Service protectee identification. Compare Indictment, ECF 10,

with Superseding Indictment, ECF 41. It did not identify any “family members” as the basis for

Count Four or Five. The government has provided no discovery on this issue. And, the defense

has already objected to the government’s reliance on any such “family members.” See Def.’s

Reply in Support of Motion to Dismiss, ECF 80 at 2 (“To the extent that the government now



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relies on ‘two other Secret Service protectees (members of the Vice President’s immediate

family),’ ECF 77 at 7, the indictment does not charge that ‘members of the Vice President’s

immediate family’ were ‘temporarily visiting’ the Capitol or its grounds when Mr.

GossJankowski is alleged to have violated § 1752.”). Accordingly, this Court should reject the

government’s procedural argument.

       Second, the government argues that it may base its case in part “on the presence of the

Vice-President’s family within the restricted area” to “support the inference that the Vice-

President was also present within the restricted area.” ECF 121 at 3–4. This reasoning is

nonsensical and convoluted because under the statute a Secret Service protectee’s presence

defines the restricted area. Evidence of family members would be relevant solely to show that

these unidentified individuals, rather than or in addition to the former Vice President, defined the

restricted area. The government elected not to charge that in the indictment and not to provide

any discovery on that issue. The government has had years to amend its indictment and to

provide discovery on the issue. It has not done so. The Court should not allow the government

to nevertheless shoehorn this irrelevant, prejudicial evidence into trial to confuse and mislead the

jury on the key issue—for two felony counts charged—of whether the Capitol was “restricted”

within the meaning of the statute.




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                                        CONCLUSION

       For the foregoing reasons, and for any other reasons set forth at a hearing on this motion

or in supplemental pleadings, and that this Court may deem just and proper, the Court should

preclude the government from presenting any evidence and argument at trial about the former

Vice President’s family members.

                                                            Respectfully submitted,

                                                            A.J. KRAMER
                                                            FEDERAL PUBLIC DEFENDER

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